   Case 2:19-cv-04237-DDP-PJW Document 2 Filed 05/15/19 Page 1 of 2 Page ID #:25


AO 440 (Rev. 06112) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                        Central District of California


 NANO FOUNDATION, LTD., a New York non-profit                          )
 corporation; and COLIN LeMAHIEU, an individual,                       )
                                                                       )
                                                                       )
                            PlaintifJ(s)                               )
                                                                       )
                                v.                                             Civil Action No.
                                                                       )
             DAVID C. SILVER, an individual.                           )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To:   (Defendant's name and address)       DAVID C. SILVER
                                           11780 W. Sample Road
                                           Coral Springs, FL 33065




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: RYAN M. LAPINE, ESQ.
                                 rlapine@rmslaw.com
                                 JOSHUA H. HERR, ESQ.
                                 jherr@rmslaw.com
                                 ROSENFELD, MEYER & SUSMAN LLP
                                 232 North Canon Drive, Beverly Hills, Caifornia 90210

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:             05/15/2019
                                                                                            Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                      PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name a/individual and lille, ifany)
 was received by me on (dale)


           o   I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or
          -----------------------------------------------
           o   I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          -------------------
           on (date)                               , and mailed a copy to the individual's last known address; or
                        -----------------
           o   I served the summons on (name a/individual)                                                                     ,who is
            designated by law to accept service of process on behalf of (name 0/ organization)
                                                                                 on (date)                            ; or

           o   I returned the summons unexecuted because                                                                            ; or
                                                                      ----------------------
           o   Other (specify):




           My fees are $                           for travel and $                  for services, for a total of $          0.00
                                                                      --------


           I declare under penalty of perjury that this information is true.



Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
